  Case 3:21-cr-30014-PKH Document 5Filed 07/29/21 Page 1 of 1 PageID #: 9
                                                                        FILED
                                                                 US DISTRICT COURT
                                                                 WESTERN DISTRICT
                 IN THE UNITED STATES DISTRICT COURT               OF ARKANSAS
                    WESTERN DISTRICT OF ARKANSAS                    Jul 29, 2021
                            HARRISON DIVISION
                                                                OFFICE OF THE CLERK
UNITED STATES OF AMERICA        )
                                )
v.                              )     Case No. 3:21-CR-30014-001
                                )
AUSTIN GLENN ANGEL              )

                            PETITION AND ORDER FOR WRIT
                          HABEAS CORPUS AD PROSEQUENDUM

      Comes now the United States Attorney for the Western District of Arkansas and for his peti-
tion, states:

      1. That AUSTIN GLENN ANGEL, defendant herein, is now confined in the Boone
County Detention Center, and is being held by the Sheriff thereof.

         2. It is requested that said defendant be brought before the United States District Court,
Western District of Arkansas, Fort Smith, Arkansas, for proceedings on the charges now pending
against him and said defendant then be returned to the above-named institution at the conclusion
of all proceedings in the above named Court.

      WHEREFORE, your petitioner prays the Court to forthwith order the issuance of a Writ of
Habeas Corpus Ad Prosequendum directed to the following:

To the United States Marshal for the Western District of Arkansas
To the Sheriff, Boone County Detention Center

requiring them to produce the body of the said defendant before this Court, Fort Smith, Arkansas,
on August 17, 2021, at 1:00 p.m..

                                                            David Clay Fowlkes
                                                            Acting United States Attorney
                                                     By:    /s/ Brandon Carter

                                                            Brandon Carter
                                                            Assistant U.S. Attorney
                      29th day of July, 2021
IT IS SO ORDERED this ____                                  Arkansas Bar No. 2005241
                                                            414 Parker Avenue
 /s/ Honorable Mark E. Ford
__________________________________                          Fort Smith, AR 72901
Honorable Mark E. Ford                                      (479) 249-9042
United States Magistrate Judge
